                    Case 1:05-cr-00156-OWW Document 43 Filed 12/15/05 Page 1 of 5
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     v.                                                  (For Offenses Committed On or After November 1, 1987)
            JESSICA MARIE HAWES                                          Case Number: 1:05CR00156-002


                                                                         Carolyn Phillips
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to cou nt(s): On e of th e Indictm ent .
[]       pleaded nolo con tendere to coun ts(s)        which wa s ac cep ted by the co urt.
[]       was foun d guilty on coun t(s)     after a plea of n ot guilty.

ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following offense(s):
                                                                                            Date Offense             Count
Title & Section                     Nature of Offense                                       Concluded                Num ber(s)
18 USC 371                          Co nsp iracy to P oss ess Stolen M ail and to           01/30/2005               One
                                    Com mit Unauthorized Use of Access Devices




       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendan t has been fou nd not guilty on coun ts(s)          and is discharged as to such c ount(s).

[U]      Count(s) all rem aining of the Indictm ent (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[]       Appeal rights given.                          [U]       Appeal rights waived.

        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                        Decem ber 13, 2005
                                                                                   Date of Imposition of Judgment


                                                                                      /s/ OLIVER W . WAN GER
                                                                                     Signature of Judicial Officer


                                                                       OLIVER W. WANGER , United States District Judge
                                                                               Nam e & Title of Judicial Officer

                                                                                          Decem ber 13, 2005
                                                                                                Da te
                     Case 1:05-cr-00156-OWW Document 43 Filed 12/15/05 Page 2 of 5
AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:                1:05CR00156-002                                                                            Judgment - Page 2 of 5
DEFENDANT:                  JESSICA MARIE HAW ES




                                                           PROBATION
         The defendant is hereby sentenced to probation for a term of 36 months .



The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 1:05-cr-00156-OWW Document 43 Filed 12/15/05 Page 3 of 5
AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:               1:05CR00156-002                                                             Judgment - Page 3 of 5
DEFENDANT:                 JESSICA MARIE HAW ES




                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of her person, property, home, and vehicle by a United
              States Probation Officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall not dispose of or otherwise dissipate any of her assets until the fine and/or
              restitution order by this judgment is paid in full, unless the defendant obtains approval of the
              court.

         3.   The defendant shall provide the probation officer with access to any requested financial
              information.

         4.   The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.

         5.   As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         6.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if she has reverted to the use of drugs or alcohol.

         7.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
              places where alcohol is the chief item of sale.

         8.   As directed by the probation officer, the defendant shall participate in a program of mental
              health treatment (inpatient or outpatient.)

         9.   The defendant shall complete 100 hours of unpaid community service as directed by the
              probation officer. The defendant shall pay fees attendant to participation and placement in this
              program, on a sliding scale as determined by the program. Community service shall be
              completed by as directed. This condition shall be eliminated if the defendant enters a long term
              after care program, however if she does not, this condition shall remain in full force and effect.

         10. The defendant shall reside and participate in an inpatient drug treatment program, WestCare
             of California for a period of 90 days, as directed by the probation officer.

         11. As directed by the probation officer, the defendant shall participate in a co-payment plan for
             treatment or testing and shall make payment directly to the vendor under contract with the
             United States Probation Office of up to $25 per month.

         12. The defendant shall cooperate in the collection of DNA as directed by the probation officer.
                      Case 1:05-cr-00156-OWW Document 43 Filed 12/15/05 Page 4 of 5
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:05CR00156-002                                                                             Judgment - Page 4 of 5
DEFENDANT:                    JESSICA MARIE HAW ES



                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessm ent                        Fine                      Restitution
       Totals:                                       $ 100.00                        $ waived                    $ 2,654.00


[]     The determination of res titution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after suc h de term ination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant m ak es a partial paym ent, ea ch payee shall re ceive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. Howev er, pu rsuant to 18 U.S.C . § 3664(i),
       all nonfederal victims m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                 Restitution Ordered       Priority or Percentage

Citibank                                              $2,654.00                      $2,654.00


       TOTALS:                                     $ 2,6540.00                     $ 2,6540.00




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on res titution and a fine of m ore than $2,50 0, unless the res titution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
       6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

[ ]        Th e co urt de term ined that the defe nda nt does n ot have the ability to pay intere st and it is ordered that:

       [ ] The interest requirement is waived for the                [ ] fine           [ ] restitution

       [ ] The interest requirement for the                 [ ] fine [ ] restitution is m odified as fo llows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
comm itted on or after September 13, 1994, but before April 23, 1996.
                     Case 1:05-cr-00156-OWW Document 43 Filed 12/15/05 Page 5 of 5
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 1:05CR00156-002                                                                              Judgment - Page 5 of 5
DEFENDANT:                   JESSICA MARIE HAW ES


                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [U]           Lump sum payment of $            2,754.00 due imm ediately, balance due

           []      not later than    , or
           []      in acc orda nce with          [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Payment to begin imm ediately (may be combined with                   [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Pa ym ent in equal    (e.g., weekly, monthly, quarterly) installments of $   over a period of               (e.g., months or years),
         to comm ence       (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Pa ym ent in equal    (e.g., weekly, monthly, quarterly) installments of $ over a period of   (e.g., months or years),
         to comm ence       (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will comm ence within        (e.g., 30 or 60 days) after release from
         imprisonm ent. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
         or

F    [ ] Special instruc tions rega rding the paym ent of crim inal m one tary penalties:




Unless the court has express ly ord ered otherwis e, if this judgment impos es im prisonm ent, paymen t of criminal mo netary
penalties is due during imprisonm ent. All criminal m onetary penalties, except those payments m ade through the Federal Bureau
of Prisons' Inm ate F inancial Resp ons ibility Program , are m ade to the c lerk of the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U] Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant number), Total Amount, Joint and Several
Am oun t, and corresp ond ing pa yee, if approp riate: Sam uel Orozco




[]   The defendant shall pay the cost of prosecution.

[]   Th e de fendan t shall pay the following cou rt cos t(s):

[]   Th e de fendan t shall forfeit the defe nda nt’s interest in the follow ing prope rty to the U nited S tates:
